Case 2:04-Cr-20251-BBD Document 32 Filed 07/05/05 Pag_§e 1 0f2 'Fl’age|D 33

IN THE UNlTED sTATEs DIsTRICT coURT ,
FoR THE WESTERN DISTRICT oF TENNESSEE ‘F“~ED mfg-__ D~¢
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THCNAS M. ,
UNITED STATES OF AMERICA, [}_EK U_S__ I_`§SFYTJ&HT
d _ W,i) GF vt I=§EMS
Plamtlff,

vs. Cr. No. 04~20251-D

PATRICK NEVILLES,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE SENTENCING

 

For good cause shown, and without objection by the government, the Court hereby

GRANTS defendant’s motion to reset the sentencing hearing currently set for July 6, 2005 until

wali __“S\oi:)a% =;oo§ 13.~\‘00®\

It is so ORDERED, this the 1 ft day of July, 2005.

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H NoRABLE BERNICE Doi\rALD
UNI:|?EI) s-TATES DISTRICT coURT JUDGE

 

 
 
 

Thts document entered on the docket she l
wlth Flu|e 55 and/or 32{b) FRCrP on

 

   

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Honorable Bernice Donald
US DISTRICT COURT

